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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,                         )
                                                   )
         Plaintiff,                                )
                                                   )
                          v.                         Civil Action No. 1:04-cv-00798-PLF/GMH
                                                   )
                                                   )
                                                   )
 ALL ASSETS HELD AT BANK JULIUS
                                                   )
 BAER & COMPANY, LTD., GUERNSEY
                                                   )
 BRANCH, ACCOUNT NUMBER 121128,
                                                   )
 IN THE NAME OF PAVLO
                                                   )
 LAZARENKO, LAST VALUED AT
                                                   )
 APPROXIMATELY $2 MILLION IN
                                                   )
 UNITED STATES DOLLARS, ET AL.,
                                                   )
                                                   )
         Defendants.                               )


                       JOINT STATUS REPORT OF THE
            UNITED STATES AND CLAIMANT ALEXANDER LAZARENKO

       Plaintiff United States of America and Claimant Alexander Lazarenko jointly file this

Status Report as ordered by the Court on March 27, 2019 (Dkt. No. 1135). The position of each

party is set for below.



       UNITED STATES: On March 28, 2019, the United States advised counsel for

Alexander Lazarenko that the visa application process described by Alexander Lazarenko in

previous correspondent with the United States (see Ltr. From Beckman to Schwartz dated Mar.

15, 2019) and the Court (Dkt. No. 1132-1) was inaccurate. The United States provided counsel

for Alexander with a link to a website detailing the requirements for a Ukrainian citizen to obtain

a non-immigrant visa to the United States. For the convenience of counsel, the United States

provided a short summary of the major application requirements, which are:
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   a) Completing the online application form under penalty of perjury;

   b) Paying the application fee;

   c) Scheduling an interview with a consular official at the US Embassy in Kyiv; and

   d) Attending the interview in Kyiv, Ukraine and bringing supporting documentation to the

       interview.

The United States also provided counsel to Alexander Lazarenko with the phone number of the

U.S. Embassy in Kyiv, Ukraine, and encouraged them to call the U.S. Embassy in Kyiv, Ukraine

with any questions. The United States advised counsel for Alexander Lazarenko that it was

unaware of any requirement that Alexander Lazarenko obtain a letter from the Department of

Justice in order to allow him to complete a visa application.

       Since providing the above information to counsel for Alexander Lazarenko on March 28,

2019, the United States has not received a response, an update from counsel regarding the status

of Alexander Lazarenko’s visa application, or a proposed date for Alexander Lazarenko’s

deposition either in the United States or Ukraine.



       ALEXANDER LAZARENKO:                    Counsel has communicated to her clients that the

United States will not be providing a letter regarding the proposed deposition in the United

States and that Alexander Lazarenko should proceed with seeking a visa without such letter.

Due to language and logistical barriers, counsel is currently unable to definitively confirm that

the initial online application has been submitted. Counsel expects to be able to provide an

additional update in that regard at or prior to the April 9, 2019 hearing in this case.

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